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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                     Plaintiff,

 v.                                                     Case No. 1:17-cv-02511-RJL

 AT&T INC., DIRECTV GROUP
 HOLDINGS, LLC, and TIME WARNER
 INC.,

                    Defendants.



               JOINT STATEMENT ON THE BURDEN OF PROOF AT TRIAL



Joint positions:

      1. Section 7 of the Clayton Act governs the Plaintiff’s claims and states that “[n]o person

         . . . shall acquire [assets] . . . where in any line of commerce or in any activity affecting

         commerce in any section of the country, the effect of such acquisition may be

         substantially to lessen competition, or to tend to create a monopoly.” 15 U.S.C. § 18.

      2. As the statutory text indicates, merger review is concerned with “probabilities, not

         certainties or possibilities.” United States v. Baker Hughes, Inc., 908 F.2d 981, 984 (D.C.

         Cir. 1990) (emphasis in original).

      3. “The core question is whether a merger may substantially lessen competition, and

         necessarily requires a prediction of the merger’s impact on competition, present and

         future.” FTC v. Procter & Gamble Co., 386 U.S. 568, 577 (1967).
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United States’ positions:

   Basic Standards

   1. Section 7 of the Clayton Act is designed to preserve, prophylactically, a competitive

       market structure. See Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 485

       (1977) (Section 7 is, “as we have observed many times, a prophylactic measure, intended

       primarily to arrest apprehended consequences of intercorporate relationships before those

       relationships could work their evil.” (quotation omitted)); United States v. Phila. Nat’l

       Bank, 374 U.S. 321, 362 (1962) (Congress “intended to arrest anticompetitive tendencies

       in their ‘incipiency’” (quoting Brown Shoe, 370 U.S. at 317, 322)).

   2. Accordingly, a merger may “substantially” lessen competition in the meaning of Section

       7 if there is a “reasonable probability” that anticompetitive effects materialize from the

       merger. FTC v. H.J. Heinz Co., 246 F.3d 708, 713 (D.C. Cir. 2001) (citing Brown Shoe

       Co. v. United States, 370 U.S. 294, 323 (1962) and legislative history for the proposition

       that Section 7 does not demand certainty but rather proscribes mergers with a “reasonable

       probability” of anticompetitive effects). “All that is necessary is that the merger create an

       appreciable danger of [anticompetitive] consequences in the future.” United States v.

       H&R Block, Inc., 833 F. Supp. 2d 36, 49 (D.D.C. 2011) (quoting Hosp. Corp. of Am. v.

       FTC, 807 F.2d 1381, 1389 (7th Cir. 1986) (emphasis added)); accord Heinz, 246 F.3d

       708, 719 (D.C. Cir. 2001); FTC v. Whole Foods Mkt., Inc., 548 F.3d 1028, 1046 (D.C.

       Cir. 2008) (Tatel, J., concurring).

   3. One such anticompetitive effect is “higher prices in the affected market.” H&R Block,

       Inc., 833 F. Supp. 2d at 49; accord Whole Foods Mkt., Inc., 548 F.3d 1028, 1046 (D.C.

       Cir. 2008) (Tatel, J., concurring).


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4. Another is “coordinated effects”—the ability and incentive for the merged firm to

   cooperate with another like-minded firm post-merger in a manner that harms competition

   and customers. See Heinz, 246 F.3d at 715; see generally Trial Br. of the United States,

   Part VI.E.

5. Although vertical mergers “are less likely than horizontal mergers to create competitive

   problems,” DOJ, Non-Horizontal Merger Guidelines § 4 (1984), “[a]ll mergers are within

   the reach of [Section] 7, and all must be tested by the same standard, whether they are

   classified as horizontal, vertical, conglomerate or other.” Procter & Gamble Co., 386

   U.S. at 577.

Burden of Proof

Burden of Proof on Lessening of Competition
6. Some form of burden shifting is used in all civil litigation. In Section 7 cases, “[t]o

   establish a prima facie case, the Government must (1) propose the proper relevant market

   and (2) show that the effect of the merger in that market is likely to be anticompetitive.”

   FTC v. Penn State Hershey Med. Ctr., 838 F.3d 327, 337-38 (3d Cir. 2016); see also St.

   Alphonsus Med. Ctr.-Nampa Inc. v. St. Luke’s Health Sys., Ltd., 778 F.3d 775, 785 (9th

   Cir. 2015) (“a prima facie case is established if the plaintiff proves that the merger will

   probably lead to anticompetitive effects in that market”).

7. The United States agrees with defendants that, in a vertical merger case, there is no short-

   cut way to establish anticompetitive effects, as there is with horizontal mergers. Unlike

   in horizontal mergers, where market concentration statistics can establish a presumption

   of harm, see, e.g., United States v. Anthem, Inc., 855 F.3d 345, 349 (D.C. Cir. 2017), in

   vertical merger cases which do not involve an increase in market concentration, no such

   presumption is available. Rather, the government must prove its prima facie case by a

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   fact-specific inquiry into whether there is an appreciable danger of anticompetitive

   effects.

8. Once the government makes a prima facie case, the burden shifts to the defendants to

   “provide sufficient evidence that the prima facie case ‘inaccurately predicts the

   transaction’s probable effect on competition.’” Anthem, Inc., 855 F.3d at 349 (quoting

   Baker Hughes, 908 F.2d at 991); see also St. Alphonsus Med. Ctr., 778 F.3d at 791

   (rebuttal evidence must “show that the prediction of anticompetitive effects from the

   prima facie case is inaccurate”). “The more compelling the prima facie case, the more

   evidence the defendant must present to rebut it successfully.” Anthem, 855 F.3d at 349-

   50. Although horizontal merger cases are more common than vertical merger cases, the

   same burden-shifting described here is apparent when courts analyze vertical mergers.

   E.g., Ash Grove Cement Co. v. FTC, 577 F.2d 1368, 1378 (9th Cir. 1978) (after

   government met its burden to show a “reasonable probability” that the vertical merger

   would lessen competition, the court turned to assessing evidence defendant “urged” on

   the court, finding that it could not “refute the anticompetitive probabilities”).

9. If, as discussed above, the result of the presentation of evidence is an “appreciable

   danger” of anticompetitive effects, H&R Block, 833 F. Supp. 2d at 49 (quotation

   omitted), then Section 7 requires the Court “to arrest [those] anticompetitive tendencies

   in their incipiency,” United States v. Phila. Nat’l Bank, 374 U.S. 321, 362 (1962)

   (quotation omitted). “[D]oubts are to be resolved against the transaction.” FTC v. Elders

   Grain, Inc., 868 F.2d 901, 906 (7th Cir. 1989).

Burden of Proof on Efficiencies

10. If the defendants’ rebuttal case involves showing that the merger is justified as a result of

   the pro-competitive efficiencies or synergies it will create, then defendants have the
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   burden to prove those efficiencies. E.g., FTC v. Sysco Corp., 113 F. Supp. 3d 1, 86

   (D.D.C. 2015) (“Defendants have fallen short of making [the] showing” that savings

   would outweigh competitive harm); H&R Block, 833 F. Supp. 2d at 89 (“it is incumbent

   upon the merging firms to substantiate efficiency claims” (quotation omitted)). It is a

   settled principle of common law that a defendant has the burden to prove justifications

   for its otherwise unlawful acts. See Dixon v. United States, 548 U.S. 1, 8 (2006);

   Schaffer v. Weast, 546 U.S. 49, 60 (2005).

11. No court has ever found efficiencies that justified the anticompetitive effects of a merger.

   As a result, the law is unsettled as to whether defendants can defeat a Section 7 case

   merely by showing the merger creates efficiencies, even if they “outweigh” the

   anticompetitive effects proven by the plaintiff. Anthem, 885 F.3d at 353, 355. There is

   absolutely no support for, or merit to, the contention that it is the anticompetitive effects

   that must “substantially outweigh” the pro-competitive efficiencies, rather than the other

   way around. Rather, “doubts are to be resolved against the transaction.” Elders Grain,

   Inc., 868 F.2d 901, 906 (7th Cir. 1989).

12. If efficiencies can justify anticompetitive harm, defendants have the burden to show that

   the claimed efficiencies are:

       a. “reasonably verifiable by an independent party,” H&R Block, 833 F. Supp. 2d at

           89, and not “mere speculation and promises about post-merger behavior,” Heinz,

           246 F.3d at 721; and

       b. “merger-specific,” meaning “efficiencies that cannot be achieved by either

           company alone” absent the merger, id. at 721-22.




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13. Defendants also “must demonstrate” that any efficiency gains “ultimately would benefit

   competition and, hence, consumers.” Heinz, 246 F.3d at 720; see also Sysco Corp., 113

   F. Supp. 3d at 82 (D.D.C. 2015); Anthem, 855 F.3d at 379 (Kavanaugh, J., dissenting)

   (“[I]t can be difficult for the merged firm to demonstrate that a substantial portion of the

   efficiencies resulting from the merger would actually be passed through to consumers

   instead of being retained by the merging companies.”).

Establishing Competitive Harm

14. Consistent with the Supreme Court’s admonition that “all [mergers] must be tested by the

   same standard, whether they are classified as horizontal, vertical, conglomerate or other,”

   Procter & Gamble Co., 386 U.S. at 577, there is no one single way the government must

   establish an appreciable danger of anticompetitive effects.

15. A vertical merger may reduce competition by “foreclosing competitors of the purchasing

   firm in the merger from access to a potential source of supply, or from access on

   competitive terms.” Yankee Entm’t & Sports Network, LLC v. Cablevision Sys. Corp.,

   224 F. Supp. 2d 657, 673 (S.D.N.Y. 2002).

16. Additionally, a vertically integrated firm may force its rivals to “pay[] more to procure

   necessary inputs” and thus cause those rivals to increase their prices downstream. Sprint

   Nextel Corp. v. AT&T, Inc., 821 F. Supp. 2d 308, 330 (D.D.C. 2011); see also ABA

   SECTION OF ANTITRUST LAW, MERGERS AND ACQUISITIONS: UNDERSTANDING THE

   ANTITRUST ISSUES 383 (4th ed. 2015).

17. Additionally, a vertical merger may facilitate anticompetitive coordination. The

   government proves the likelihood of “coordinated effects” by establishing that “market

   conditions, on the whole, are conducive to reaching terms of coordination.” FTC v. CCC



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   Holdings, Inc., 605 F. Supp. 2d 26, 60 (D.D.C. 2009) (quotation omitted); see generally

   Trial Br. of the United States, Part VI.E.

Market Power

18. Section 7 proscribes any merger that is likely to harm competition substantially in “any

   line of commerce” in “any section of the country.” 15 U.S.C. § 18. Accordingly, under

   the plain language of the statute, the government need only define one relevant market—

   that in which it will show potential competitive harm. See United States v. E.I. du Pont

   de Nemours & Co., 353 U.S. 586, 593 (1957) (“Determination of the relevant market is a

   necessary predicate . . . because the threatened monopoly must be one which will

   substantially lessen competition within the area of effective competition.” (emphasis

   added) (quotation marks omitted)); Anthem, 855 F.3d at 349 (potential anticompetitive

   effect in Richmond, Virginia, an “independent and alternative” basis for injunction).

19. There is no additional requirement that the government define a second market in which

   the defendants have market power. Cf. United States v. Dentsply Int’l, Inc., 399 F.3d

   181, 189 (3d Cir. 2005) (“The Supreme Court on more than one occasion has emphasized

   that economic realities rather than a formalistic approach must govern review of antitrust

   activity.”).

Proving Likely Harm Through Expert Testimony

20. Courts routinely rely on expert testimony in deciding merger cases to aid in the

   “predictive judgment, necessarily probabilistic and judgmental rather than demonstrable,”

   that “is called for” by Section 7. Hosp. Corp. of Am., 807 F.2d at 1381. Antitrust law

   “adapts to modern understanding and greater experience,” and courts are able to draw on




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   current “authorities in the economics literature” to inform their analyses. Leegin Creative

   Leather Prods., Inc. v. PSKS, Inc., 551 U.S. 877 (2007).

21. For example, courts look to the application of the “hypothetical monopolist test” in

   defining the relevant markets (e.g., Anthem, 236 F. Supp. 3d at 198-99) and consider

   merger simulations and other economic analyses (e.g., Sysco, 113 F. Supp. 3d at 66-67).

22. Economic analysis based on reasonable assumptions can assist the court in reaching the

   conclusion that there is a “reasonable probability” of anticompetitive effects. See, e.g.,

   Sysco Corp., 113 F. Supp. 3d at 66-67, 87; United States v. H&R Block, Inc., 833 F.

   Supp. 2d at 86-88.

Remedies

23. “[I]t is well settled that once the Government has successfully borne the considerable

   burden of establishing a violation of the law, all doubts as to remedy are to be resolved in

   its favor.” Ford Motor, 405 U.S. at 575 (quoting United States v. E.I. du Pont de

   Nemours & Co., 366 U.S. 316, 334 (1961)).

24. As described at No. 1 above, the Clayton Act preserves competitive market structures so

   that the government need not regulate who gets what and for how much. See Brunswick

   Corp., 429 U.S. at 485 (1977) (Section 7 is, “as we have observed many times, a

   prophylactic measure, intended primarily to arrest apprehended consequences of

   intercorporate relationships before those relationships could work their evil.” (quotation

   omitted)); Phila. Nat’l Bank, 374 U.S. at 362 (Congress “intended to arrest

   anticompetitive tendencies in their incipiency” (quotation omitted)).

25. Accordingly, “in Government actions divestitures is the preferred remedy for an illegal

   merger or acquisition.” California v. American Stores Co., 495 U.S. 271, 280-281

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   (1990); see also id. at 285 (“Congress also made express its view that divestiture was the

   most suitable remedy in a suit for relief from a § 7 violation”); FTC v. PPG Indus., Inc.,

   798 F.2d 1500, 1506-07 (D.C. Cir. 1986) (“full stop injunction” preferred).

26. If defendants propose an alternative fix, they “bear the burden of showing that [it] would

   negate any anticompetitive effects of the merger.” FTC v. Staples, Inc., 190 F. Supp. 3d

   100, 137 n.15 (D.D.C. 2016). That burden includes “producing evidence that the

   [remedy] will actually occur,” Aetna, 240 F. Supp. 3d at 60, and that it “will remedy the

   anticompetitive effects of the merger,” Sysco, 113 F. Supp. 3d at 78.

27. “The key to the whole question of an antitrust remedy is of course the discovery of

   measures effective to restore competition. Courts are not authorized in civil proceedings

   to punish antitrust violators, and relief must not be punitive. But courts are authorized,

   indeed required, to decree relief effective to redress the violations, whatever the adverse

   effect of such a decree on private interests.” du Pont, 366 U.S. at 326.




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Defendants’ positions:

   Basic Standards

   1. To establish the requisite probability of harm, the government must prove that “the

      challenged acquisition [is] likely substantially to lessen competition.” FTC v. Arch Coal,

      Inc., 329 F. Supp. 2d 109, 115 (D.D.C. 2004) (emphasis added). The “ ‘ultimate inquiry

      in merger analysis’ is . . . ‘whether the merger is likely to create or enhance market power

      or facilitate its exercise.’ ” ProMedica Health Sys., Inc. v. FTC, 749 F.3d 559, 570 (6th

      Cir. 2014) (quoting Carl Shapiro, the government’s lead economic expert) (emphasis

      altered).

   2. In addition, a merger must threaten to lessen competition “substantially.” 15 U.S.C. § 18.

      Even when a merger may “result in some lessening of competition,” it still is “not

      forbidden” by Section 7, which “deals only with such acquisitions as probably will result

      in lessening competition to a substantial degree.” Int’l Shoe Co. v. FTC, 280 U.S. 291,

      298 (1930) (emphasis added).

   3. Section 7 applies to all mergers, but vertical and horizontal mergers are analyzed

      differently for two reasons. First a “vertical merger, unlike a horizontal one, does not

      eliminate a competing buyer or seller from the market.” Fruehauf Corp. v. FTC, 603

      F.2d 345, 351 (2d Cir. 1979). Second, vertical transactions normally create efficiencies

      and synergies between complementary supply and distribution operations, and thus

      “[v]ertical integration and vertical contracts are procompetitive” in most cases. Comcast

      Cable Comm’ns, LLC v. FCC, 717 F.3d 982, 991 (D.C. Cir. 2013) (Kavanaugh, J.,

      concurring) (citing cases).




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4. In the government’s words, vertical mergers “are less likely than horizontal mergers to

   create competitive problems,” DOJ, Non-Horizontal Merger Guidelines § 4 (1984), and

   “merit a stronger presumption of being efficient than do horizontal mergers.” Statement

   of the U.S. Delegation to the OECD, Competition Comm. 2 (Feb. 21-22, 2007),

   https://www.ftc.gov/policy/reports/us-submissions-oecd-other-international-competition-

   fora.

Burden of Proof

5. Horizontal merger decisions are not appropriate authorities for identifying the

   government’s burden in vertical merger cases. Horizontal merger cases involve a

   burden-shifting framework under which harm to competition is presumed from “undue

   concentration in the market for a particular product in a particular geographic area.”

   United States v. Anthem, Inc., 855 F.3d 345, 349 (D.C. Cir. 2017) (internal quotation

   marks omitted); see Baker Hughes, 908 F.2d at 982 (describing burden-shifting as “basic

   outline of a section 7 horizontal acquisition case” (emphasis added)).

6. Because a vertical merger, unlike a horizontal merger, does not eliminate any

   competitors, it cannot result in the “undue concentration” that creates a presumption of

   harm and shifts a burden of production to the defendants, see Baker Hughes, 908 F.2d at

   982.

7. “As horizontal agreements are generally more suspect than vertical agreements, we must

   be cautious about importing relaxed standards of proof from horizontal agreement cases

   into vertical agreement cases. To do so might harm competition and frustrate the very

   goals that antitrust law seeks to achieve.” Republic Tobacco Co. v. N. Atl. Trading Co.,

   381 F.3d 717, 737 (7th Cir. 2004).



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8. For example, the assertion that “doubts are to be resolved against the transaction” comes

   from a horizontal merger case involving a significant increase in concentration, FTC v.

   Elders Grain, Inc., 868 F.2d 901, 906 (7th Cir. 1989), which in turn cites the heightened

   presumption of harm resulting from increased concentration in horizontal merger cases,

   see id. (citing United States v. Philadelphia National Bank, 374 U.S. 321, 362-63

   (1963)).

9. Because vertical integration is presumptively efficient (see Nos. 3-4, supra), and a

   merger can be invalidated only if the government proves it is likely to substantially lessen

   competition (see No. 2, supra), the government must prove in a vertical merger case that

   the merger is likely to have anticompetitive effects that substantially outweigh the

   efficiencies and synergies reasonably resulting from the merger. Cf. Fruehauf, 603 F.2d

   at 352 (“The ultimate objective, however, is to determine whether and how the particular

   merger in issue may lessen competition, i.e., what its anticompetitive effect on the

   market, if any, is likely to be.”).

10. Evidence of pro-competitive synergies and efficiencies resulting from a vertical merger

   does not constitute “justifications for . . . otherwise unlawful acts,” as the government

   asserts. Rather, such evidence is directly relevant to the merger’s likely effects on

   competition. The government accordingly must account for those synergies and

   efficiencies in carrying its burden of proving the merger is likely to substantially lessen

   competition.

11. Contrary to the government’s suggestion, the decision in Ash Grove Cement Co. v. FTC,

   577 F.2d 1368 (9th Cir. 1978), does not hold that a defendant in a district court vertical

   merger case bears a burden of proof concerning synergies and efficiencies. Ash Grove



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   involved a company’s appellate challenge to factual findings in an FTC order, which was

   subject to a “very narrow” review standard under administrative law. Id. at 1377. And

   the company’s argument on appeal was that the FTC’s order failed to account for “post-

   acquisition evidence” showing a “quantum” of remaining competition, not that the order

   ignored the merger’s synergies and efficiencies. Id. at 1379.

12. Even in horizontal merger cases subject to a burden-shifting framework, defendants need

   not show that claimed efficiencies are impossible to achieve except through merger.

   Rather, the “real question is whether the alternatives to merger are practical and more

   than merely theoretical.” Anthem, 855 F.3d at 357 (citing DOJ & FTC, Horizontal

   Merger Guidelines § 10 (2010)).

13. Likewise, in horizontal merger cases, defendants claiming pro-competitive efficiencies

   need not show that they are “capable of precise quantification.” Arch Coal, 329 F. Supp.

   2d at 153. Efficiencies instead must be based on “credible evidence” of “a prediction

   backed by sound business judgment.” FTC v. Staples, Inc., 970 F. Supp. 1066, 1089-90

   (D.D.C. 1997).

Coordinated Effects

14. Whereas horizontal mergers inherently “increase . . . concentration” and thus potentially

   create a risk of coordinated conduct, FTC v. CCC Holdings Inc., 605 F. Supp. 2d 26, 60

   (D.D.C. 2009), vertical mergers do not increase concentration, and thus the government

   bears its normal burden to prove that the merger is “likely” to result in coordinated

   conduct that substantially lessens competition, Arch Coal, 329 F. Supp. 2d at 115; see

   United States v. Oracle Corp., 331 F. Supp. 2d 1098, 1109 (N.D. Cal. 2004) (rejecting




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   government claim where it had not proved that defendants “would likely engage in

   coordinated interaction”); see also Defs. Pretrial Br. 55-56.

Establishing Competitive Harm

15. A vertical merger does not “substantially lessen competition” simply because it

   disadvantages rivals. See Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477,

   488 (1977) (“The antitrust laws . . . were enacted for the protection of competition not

   competitors.”).

16. To prove a likely anticompetitive effect from a vertical merger, the government must

   prove (inter alia) that the merger will likely cause one merging party to do business

   exclusively or mainly with the other merging party and thereby “foreclose[]” rivals from

   doing business “in a substantial share of [the] market.” United States v. E.I. du Pont de

   Nemours & Co., 353 U.S. 586, 595 (1957); see also Fruehauf, 603 F.2d at 352 n.9.

17. A plaintiff must ultimately prove that vertical integration by merger or contract leaves

   rivals “stunted” as competitors, prevents them from “provid[ing] meaningful price

   competition,” and thereby enables the defendants to raise their own prices above

   competitive levels. McWane Inc. v. FTC, 783 F.3d 814, 838-39 (11th Cir. 2015); see also

   United States v. Microsoft, 253 F.3d 34, 71 (D.C. Cir. 2001) (en banc) (same); Fruehauf,

   603 F.2d at 352 n.9; see generally Defs. Pretrial Br., Part I.B.

Market Power

18. Market definition is a “necessary predicate to deciding whether a merger contravenes the

   Clayton Act.” United States v. Marine Bancorp., 418 U.S. 602, 618 (1974).

19. In a vertical merger, the government must define relevant markets for both merging

   parties and prove market power in both upstream and downstream markets (here, video



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   programming and video distribution) because, “[w]here substantial market power is

   absent at any one product or distribution level, vertical integration will not have an

   anticompetitive effect.” Auburn News Co. v. Providence Journal Co., 659 F.2d 273, 278

   (1st Cir. 1981).

Proving Likely Harm Through Expert Testimony

20. Expert testimony that the merger is likely to harm competition must be consistent with

   record evidence concerning operation of the relevant industry. See Brooke Grp. Ltd. v.

   Brown & Williamson Tobacco Corp., 509 U.S. 209, 242 (1993) (government cannot meet

   its burden of proof with expert opinion that “is not supported by sufficient facts”).

21. Any economic model the government uses to rebut the presumption favoring vertical

   integration must have a proven connection to real-world facts and “incorporate all aspects

   of the economic reality” relevant to consumer welfare, Craftsmen Limousine, Inc. v. Ford

   Motor Co., 363 F.3d 761, 777 (8th Cir. 2004), including facts unfavorable to the

   government’s theory of harm, see Brooke Group, 509 U.S. at 242 (government cannot

   support case with expert opinion where “record facts contradict or otherwise render the

   opinion unreasonable”); see also Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475

   U.S. 574, 594 n.19 (1986) (rejecting reliance on expert opinion “based on a mathematical

   construction that in turn rests on assumptions” both “implausible and inconsistent with

   record evidence”).

22. Expert opinion is nonprobative if it is based on “assumptions and simplifications that are

   not supported by real-world evidence.” American Booksellers Ass’n, Inc. v. Barnes &

   Noble, Inc., 135 F. Supp. 2d 1031, 1041-42 (N.D. Ca. 2001).




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  Remedies

  23. In any legal context, when “feasible and effective, the court should fashion a remedy less

      harsh than the strong medicine of a total injunction.” SunAmerica Corp. v. Sun Life

      Assur. Co. of Can., 77 F.3d 1325, 1337 (11th Cir. 1996).

  24. Any equitable remedy chosen to address a violation of the antitrust laws should “preserve

      the efficiencies created by a merger, to the extent possible, without compromising the

      benefits that result from maintaining competitive markets.” DOJ, Antitrust Division

      Policy Guide to Merger Remedies, at 4 (June 2011).



  Dated: March 13, 2018

                    Jointly submitted,



 /s/ Craig Conrath                                 /s/ Daniel M. Petrocelli
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